                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

BRIAN DAVID HILL,                 )
                                  )
          Petitioner,             )
                                  )          1:17CV1036
          v.                      )          1:13CR435-1
                                  )
UNITED STATES OF AMERICA,         )
                                  )
          Respondent.             )


                                JUDGMENT

     For the reasons set forth in the Order filed contemporaneously

with this Judgment,

     IT IS THEREFORE ORDERED AND ADJUDGED that the Government’s

motion to dismiss (Doc. 141) be GRANTED, that Petitioner’s motion

to vacate, set aside or correct sentence (Doc. 125) be DISMISSED,

and that this action be DISMISSED.       Finding neither a substantial

issue for appeal concerning the denial of a constitutional right

affecting the conviction nor a debatable procedural ruling, a

certificate of appealability is not issued.




                                          /s/   Thomas D. Schroeder
                                       United States District Judge



December 31, 2019




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